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EXHIBIT 140
AmazonWireless: Samsung Nexus S 4G Android Phone (Sprin

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Sprint

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teteict’; (59 customer reviews)

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@ Interactive Guide ]
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Product Description

Get the ultimate Google experience at 4G speeds with the Nexus S 4G for Sprint, which pairs Android 2.3 Gingerbread with a 1 GHz Hummingbird processor and integrated
Google Voice capabilities. A thin-profile contour display gives the Nexus S a unique slim and trim size that fits easily in the palm of your hand, and its brighter, high-contrast
screen means colors are incredibly vibrant and text is crisp at any size--even when viewed in bright sunlight.

Itruns on Sprint's expanding 4G network, offering simultaneous voice and data connectivity and download speeds up to 10
times faster than 3G. Additionally, the phone can still connect to 3G data services in areas not currently served by Sprint's 4G
network (learn more about Sprint's 4G network below).

The Nexus S$ is packed with the latest mobile technologies,
including a Super AMOLED Contour Display with curved glass
screen, 1 GHz Hummingbird processor, and Wireless-N Wi-Fi
networking plus 3G/4G Mobile Hotspot capability for sharing
your 4G connection with up to six Wi-Fi enabled devices
simultaneously. And with support for Near Field
Communications (NFC), the Nexus S$ can read information
from "smart" tags, or everyday objects that have NFC chips in
them--from stickers and movie posters to t-shirts

The phone is outfitted with a rear-facing 5-megapixel camera
plus a front-facing camera for easy video chats on the go.
Other features include assisted GPS (A-GPS) for navigation
and location-based services, Bluetooth for hands-free devices
and stereo music streaming, haptic feedback vibration, access
to both personal and corporate e-mail, and up to 6 hours of
talk time. And with the Nexus S, you'll always be the first to
receive software upgrades and new Google mobile apps as soon as they become available.

The 4-inch Super AMOLED screen with Curved Display (view larger).

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Google Voice Integration

With Google Voice, your phone number is more than just 10 digits--it's the main hub of your voice communications. You get one
number that rings all your phones--up to six different phones--with intelligent call routing and advanced features like call
screening, blocking, and recording. You also get transcribed voicemail that's sent to you via email and/or text message, low-
priced international calling, custom voicemail greeting capabilities, and more.

The Samsung Nexus $ 4G is packed with the latest

technologies and runs on Sprints ultra-fast 4G You'll be able to use your current Sprint wireless phone number as your Google Voice number without having to port your

network (view larger). number, avoiding porting charges and potential service disruptions. So now when someone calls your Sprint mobile phone
number, it can also ring your office, your home, or even your Gmail account. And if you already have a Google Voice number,

calls made from your Sprint mobile phone can display your Google Voice number automatically.

Android, 2.3 (Gingerbread)

The Nexus S$ 4G runs the Android 2.3 platform (dubbed "Gingerbread")--the fastest version of Android available for
smartphones yet. It features a cleaner, more refined interface with new icons, improved top notification bar, and more
intuitive navigation. Multitasking in Gingerbread allows you the ability to run more than one app at a time. If you're
playing a game, you can easily switch to an incoming email and then switch back to the game without losing your

place.

A new onscreen keyboard makes it easier to type thanks to additional spacing between the keys and larger font sizes.
And the more you use the keyboard, the easier typing will be as the enhanced suggest feature records previous input
history to make better suggestions.

With Voice Actions for Android, you can press and hold the

3 Ga A Search button from anywhere and speak almost anything--
text messages and emails, navigation direction queries,
opening web pages, and more. And like the previous version of Android ("Froyo"), Gingerbread provides support for
send text listen to navigate to Adobe Flash Player 10.1 for access to the full Web.
to mom muse golden gate bridge
— The Nexus $ 4G also brings one-touch access to the popular Google mobile services you use every day, including
& 9 Google Search™, Gmail™, Google Maps™ with Navigation, Google Calendar™, Picasa™, and YouTube™. It also
provides easy access to both personal and corporate e-mail, calendars, and contacts supported by Exchange Server
call set alarm for map of and Gmail. And through Android Market, you'll get access to thousands of useful applications, widgets, and fun games
julie at home one hour from now restaurants to download and install on your phone, with many more apps being added every day.

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Near-Field Communications

tet if directi t t
tparbedon tones: -Stsvemeathst aes An NFC Reader application lets your read and interact with near-field communication (NFC) tags. For example, you
can "touch" or "swipe" an NFC tag that might be embedded in a poster, sticker, or advertisement, then act on the data
read from the tag. A typical use would be to read a tag at a restaurant, store, or event and then rate or register by
Voice Actions. jumping to a web site whose URL is included in the tag data.

Vital Statistics

The Nexus S weighs 4.6 ounces and measures 4.87 x 2.48 x 0.44 inches. Its 1500 mAh lithium-ion battery is rated at up to 6 hours of talk time. It runs on Sprint's 4G network
as well as the 800/1900 CDMA/EV-DO Rev. A frequencies.

What's in the Box

Nexus S handset, rechargeable battery, AC charger/USB cable combo, quick start guide

Connectivity Hardware
e Ultra-fast 4G connectivity with simultaneous voice and data e1GHzS gH ingbird pr speeds up everything—-from
capability (peak download speeds of more than 10 Mbps; peak upload speeds playing games to watching shows to opening files from work.
of 1 Mbps; average download speeds of 3-6 Mbps) « 4-inch Super AMOLED Plus display reproduces sharper and brighter

* 3G data speeds (EVDO Rev A.) in areas not yet served by 4G (peak colors with improved visibility in bright light (480 x 800 pixels; 235 ppi).

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download speeds of up to 3.1 Mbps; peak upload speeds of 1.8 Mbps; average
download speeds of 600 kbps-1.4 Mbps)

« Wireless-N Wi-Fi networking (802.11b/g/n) for accessing home and
corporate networks as well as hotspots while on the go.

« Built-in mobile hotspot functionality allows up to eight Wi-Fi enabled
devices to share the 3G or 4G experience on the go with a laptop, camera, music

e Contour Display with curved glass screen fits comfortably in the palm of your
hand and along the side of your face.

« MicroUSB port

« Removable battery

« Sensors: three-axis gyroscope, accelerometer, digital compass, proximity and
light sensors.

player, game unit, video player, or any other Wi-Fi enabled device.
* Bluetooth connectivity (version 2.1) includes profiles for communication Gamera
headset, hands-free car kits, and A2DP audio streaming. 5
« Onboard GPS for navigation and location services
e Near Field Communication (NFC)

ixel rear c ‘a with auto-

focus lens and flash.

» Front-facing VGA camera for easy
video chats (640 x 480 pixels).

« DVD-quality video capture (720 x 480
pixels) with recording in MPEG4, H.264, and
H.263 formats.

Google Integration
e Android 2.3 OS (Gingerbread)
« Android Market for browsing and downloading thousands of free and paid
apps
« Preloaded Android apps: Browser, Calculator, Calendar (Google or
Corporate), Camera, Clock, Contacts, Email, Gallery, Messaging, Music, News &
Weather, Phone, Settings, Video Player, Voice Dialer, Voice Search, YouTube
« Google applications: Gmail, Google Search, Google Voice Search, Google
Latitude, Google Maps, Google Places, Google Talk

Multimedia
« Music player compatible with MP3,
WMA, and AAC/AAC+
e Video player compatible with MPEG4,

H.264, H.263
« Google Maps Navigation with spoken turn-by-turn directions showing real-
time traffic and 360° views of the destination
Memory
« 16 GB internal memory (non-
Communications & Internet expandable)

e Full HTML Web Browser with Flash 10.1 Support

« Virtual QWERTY keyboard

« Full messaging capabilities including SMS text, MMS picture/video and IM
instant messaging

« Personal and corporate e-mail access with support for Exchange
ActiveSync as well as personal e-mail accounts (Google push, Yahoo!, POP3,
IMAP). memo

+ Easy access to social networks including Facebook and LinkedIn * Hearing Aid Compatibility: M4

More Features
« 3.5mm headphone jack
e Organizer tools including calculator,
world clock, stopwatch, countdown timer, and

Sprint's Blazing Fast 4G Network

Sprint 4G offers a faster wireless experience than any other U.S. national wireless carrier, and Sprint is the only national carrier offering wireless 4G service in 32 markets (with
more coming online soon). Sprint 4G delivers download speeds up to 10 times faster than 3G, giving this mobile phone the fastest data speeds of any U.S. wireless device
available today. Sprint 4G network coverage is expected to reach 120 million people by the end of 2010.

Sprint 4G services dramatically increase download speeds for photos, videos and large files. You can download a favorite song, picture, sitcom or large video in seconds, not
minutes, or watch live streaming video--all while on the go, not just from the home or office. Additionally, businesses can benefit from the fast connectivity speeds of 4G. Some
examples include:

Real estate agents can conduct virtual property tours.

Construction teams using 4G in the field can save valuable time by sharing schematics with engineers online.
Insurance companies can speed their claims management through real-time communication with on-site adjusters.
Health care professionals can improve their ability to remotely monitor patients.

Emergency first responders can rapidly assess and coordinate disaster action with real-time on-site video and audio.
Photojournalists can instantly transfer high-resolution images to the newsroom.

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(Sprint) Epic Touch 4G Android

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vers (23)

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were (9)

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music directly from your Android device.

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read reviews--right from your mobile device.

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Jw WE OO,

Samsung Transform Ultra LG Viper 4G Android
Android Phone (Sprint) Phone (Sprint)

List Price: 440-99
Price From: $0.01

Kyocera Milano Android

List Price: #4606
Price From: $0.01

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Customer Reviews

Average Customer Review: sx* (59 customer reviews)

Most Helpful Customer Reviews from Amazon.com

| Create your own review (@)

(Note: You'll be taken to Amazon.com
and a new window will be opened)

56 out of 59 people found the following review helpful:
ior Great Google phone without the bloatware June 12, 2011
Reviewer: CMe (Lincoln, NE) -

| imagine that some of you are choosing between the EVO and Nexus S. Well...1 had been debating between this phone and the EVO and first picked the EVO because the
camera was better. Then | noticed that programs kept popping up on the EVO that | never installed, such as Nascar, Blockbuster, and Nova, and it wouldn't let me uninstall
them. | searched online and found a list of programs that come on the EVO that you can't uninstall and have a huge list of “permissions” including things like reading your gmail
emails and sending text messages from your phone. | called customer service and the tech support suggested return the EVO & get the Nexus S because it doesn't have all
those other programs and that most other smart phones on the market do. That's what | did. True enough, itis just straight Google. Everything is very well integrated with
Google because there isn't a duplicate HTC (or whatever company makes your phone) program to do everything. For example, | use Google calendar, and it syncs
automatically, but if | was on the EVO, | would have to keep the HTC calendar installed. And there aren't all those other programs | never wanted that | am forced to keep on
there. Since | use all the Google features, there is more of what | want already integrated and less of what | don't want to be stuck with. With battery life being such a problem
on smart phones, it just doesn't make sense to be forced to run a dozen programs you hate.

The screen is very crisp, bright, and contrasty - definitely better than the EVO. | feels just right in my hand, less bulky than the EVO, but still big enough to see what | need. The
keyboard is responsive enough but also very smart at figuring out what | meant to type. The voice commands even work pretty well. My reception has been fine.

The only thing that | can really complain about is that in the alarm clock, it only has annoying ringers (not the full ringtone selection) so you need to install another application for
that, as far as l've been able to tell.

Was this review helpful to you? ~—{ Yes No |

70 out of 82 people found the following review helpful:
int Great potential but reception issues KILL the overall experience May 26, 2011
Reviewer: Mike "Mike" (Charlotte, NC) -

This phone literally has everything I've wanted in a device - for that reason, it didn't even occur to me that the actual phone signal and calling would be the fatal flaw here. | get
terrible reception everywhere, and the wifi signal is weak even when I'm in the next room from the router, | have friends who own the Evo 4g that get great reception where | get
none. | miss calls and then get random voicemails, the phone cuts out and then comes the "can you hear me, did you hear me, | couldn't hear you for a second" frustrations.
Thats just unacceptable. This is literally the only major issue | have with this phone, and its sad that it happens to be a HUGE DEALBREAKING ISSUE. | will be returning my
device if | don't hear of some sort of firmware fix or something in the next few days.

Apart from the actual phone calling and data reception, when | actually do get enough signal, | can video chat on gtalk, use google voice, google maps navigation, and all the
other great features that shine in Google's Gingerbread OS. The processor is super fast and the interface is sleek and smooth, I've downloaded a ton of apps and they all work
flawlessly and smoothly. Installing and uninstalling apps is instantaneous.

Pros:

-Fast, sleek, perfect size (not huge like the evo), better battery life than other android devices
-Front facing camera for video chat

-Great camera for taking pictures

-NFC functionality for google wallet

-processor and interface is fast

-Netflix!

Dealbreaker Cons:

-SIGNAL / RECEPTION ISSUES - and yes, its this sprint device that is the issue, not the network. | have a buddy | ran around all day with the other weekend that owns a
Sprint Evo 4g and where | was missing calls and not getting data, he was getting blazing fast operation on voice and data.

-Horrible echo for the person on the other end of the line when using SPEAKERPHONE

-Extended batteries that require a larger back casing will disable the NFC functionality (part of whatever makes this work is housed in the OEM back cover). I'm used to a
blackberry that goes days without charging, so for me, | need a larger battery for these android phones. | don't care if it makes the phone bigger if it lets me get through a day
without charging. Not having an official extended battery with special NFC-enabled back cover really detracts from the overall "all in one device". Looks like you're stuck
carrying your actual wallet if you want longer battery life.

Other minor cons:

-no upgradeable memory, you're stuck with 16gigs. This is plenty for me, but some of you that use your phones for watching movies and storing all of your music, an option to
load different micro sd cards will be terribly missed.

-keyboard takes some getting used to, and you will never be as fast as you would on an actual qwerty like on a blackberry

-google disabled facebook integration on this device so it won't pull data and pictures from facebook into your contacts automatically. there are some workarounds, but not really
worth the time.

Was this review helpful to you? ~——{ Yes No |

5 out of 5 people found the following review helpful:
trite’ Nice phone, even for a noob June 20, 2011
Reviewer: Linh Nguyen (Maryland) -

I'll start off with this review is with 4G off, it's too flaky in our area.

| bought this phone for my Mom, and this is her first smartphone. She is one of the most tech-illiterate persons | know. She never texted on her old phones (last was LG Lotus).
But a week later, here she is texting me. Granted, | set everything up for her to go so | have a good feel for the phone.

One of the big questions right now is reception. Call quality has been fine, no dropped calls for where she normally frequents. Wifi signal shows a little weaker than my Pre, but

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it seems to work just fine. Loads things faster than my Pre from the same spot =) She has light data usage, but she gets her email fine and browsing through her picasa library.
It hasn't been too long, but the phone seems solid. My brother has the same phone, and his data has been good as well.

The biggest downsides | have to this phone are it scratches pretty easily on the back (dunno about the glass) and it's slippery. | highly recommend the Ringke cases.

Other notables: camera is OK, but my opinion on all smartphone cameras sans the nokia N& and like is they all are not up to par. The android button row is impossible to see
even on a cloudy day. If you memorize the order of the buttons, you're ok. If you flip between different android phones a lot, you might have issues. The screen itself is nice,
haven't tested in full sun though. But | haven't had any smartphone be easy to use outside in bright light. Inside, the screen is absolutely beautiful.

Finally, having a clean, stock, Android system is certainly nice to work from. You probably will want to spend a bit of time customizing everything, so if you do that anyway, this
phone will probably be perfect. Just be warned, customizing isn't always free to get exactly what you want.

Was this review helpful to you? ~——{ Yes No |

12 out of 15 people found the following review helpful:
wéetce My dream phone... Shattered by awful reception on every level. August 1, 2011
Reviewer: J. Palodichuk "Creature... For a while.” (Portland, OR USA) -

The NS4G, which ts basically an untarnished version of the original Nexus S on T-Mobile is (was) my dream phone. Period. It's a stock, vanilla Android experience that runs on
a super smoothly spec'd device. It's fast. It's screen, absolutely gorgeous. Every app | downloaded, and used on this phone ran impeccably. The camera takes amazing shots
and the shutter speed is next-to-none on any other Android phone I've owned (I've owned 3) - | took the phone on an escapade to San Francisco and the detail of the photos
were amazing. The contoured screen felt very natural against my face when on a call (when | could make one) and the call quality (when | could make a call) through the
earpiece and the speaker was great, and the person on the other end (when | could actually stay on a call) could hear me well at all time. The keyboard worked relatively well
as the stock Gingerbread keyboard but had a few quirks, but not much to write home about. The screen scrolling was super smooth like an iPhone 4 and app selection/launch
was fast with very little lag and | haven't experienced one force close yet.

Ahh, it all sounds like cupcakes and fairy tales right? Well, all | can be about the DEVICE ITSELF is giddy and optimistic, but sadly, it remains a mystery as to why this device
simply makes the entire experience a major buzzkill with its horrid reception issues. And | am not over-exaggerating here, the issues are TORRID.

Let's start with the Sprint signal... Yes, | know, it could very well be the area | live in, but it SHOULDN'T be - because after 4-5 times on the phone with Sprint trying to figure this
out, they all reiterated to me that | live in the BEST coverage area. All of them. | know this could be them telling me what they're told to tell me, but still, to hear something like
that and not having the actual performance to back it up, well, that's that. Dropped calls, consistent ‘gray-barring’, sporadic complete loss of signal (inside and outside) and all
of this with NO 4G in my area (while paying $10 extra a month for ‘premium data’). Just awful. Moving on to the other extreme issues that shouldn't be... WiFi... This should be
simple, right? | mean, WiFi is one of the most simple, basic features of today's smartphone, and Samsung completely missed the mark on this in extreme fashion. My WiFi
signal, sitting directly in-front of the router, doesn't have full bars... | mean, c'mon right? Not only does it not have full bars, but it goes down to 2 or 3 out of 5!!! Seriously? How
is this possible? Ugh, it's just heartbreaking...

PROS: Amazing performance, beautiful screen, excellent shooter around the back, responsive hardware
CONS: Every radio and antennae in this device seems to be defunct which ruins this otherwise near-perfect device.

THE BOTTOM LINE: If you're an Android enthusiast and you had the gleaming, giddiness | did when | saw | could pick one of these puppies up for dirt cheap and have
basically THE GOOGLE PHONE to have, you're simply going to absolutely despise this thing if your device has the same issues mine (and my wife's, equally) had. It's
heartbreaking, it's devastating, and even more, it's disillusioning. If you do get one of these and you don't have these problems, consider yourself one of the lucky ones, and |
envy you, deeply.

Was this review helpful to you? | Yes No |

12 out of 15 people found the following review helpful:
wit Excellent Smart Phone may 30, 2011
Reviewer. Frank Dai

| believe that people are too caught up in how many bars or what their speed test numbers are. | have not personally tested my phone as far as the speed test goes but | will tell
you that even though it does not show as many bars as my HTC, | have not dropped a call yet or have | had someone tell me that they could not hear me. My internet
experience has been fine so far. | have not done a lot of intensive downloading but | do use Pandora at work and often times in my part of the building, it shows that | have 1 to
no bars at all. The music has not skipped a beat and | still get my messages and e-mail. The phone has just come out for Sprint, sure there are kinks to be worked out but
nothing major to the point where people are rating this phone so low. Yes, the screen reflects that the signal is low, but who really cares what the screen shows. If your calls go
through and you can browse the internet without any lag, then | don't see what the real problem is. People these days are too fixated with what the numbers show, | want to tell
those people that sometimes those numbers are meaningless. | say this because my HTC had 4 bars most of the time in my house but the call quality was terrible. | really enjoy
all the things about this phone, especially the battery life. The battery life on this is very good. | have been able to go a full 24+ hours without needing a charge. Battery life all
depends on the settings you have on your phone. You just have to be careful about the apps you download and whether they are not allowing your phone to sleep when they
are running. | will possible update my review later with more info but | just wanted to let people know that there should be no reason why they shouldn't get this phone.

Was this review helpful to you? ~—{ Yes No |

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